Case 4:17-cV-O4123-LLP Document 85-2 Filed 10/18/18 Page 1 of 4 Page|D #: 1604

AO 88A (Rev. 02/14) Subpocna to Testil`y at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

 

 

ExHiBlT _;_
for the wm Fa_//U_
District of South Dakota DATE: 9 ~.?/~/ ‘/£
Suzanne Brudigan RPR-CSR
SALA NAAMBWE and YVETTE Nll\/lENY/-\
Plain!iff n d
V Civil Action No. 4117CVO4123

Sl\/||THF|ELD FOODS, |NC.

 

Defem/an/

SUBPOENA TO TESTIFY AT A DEPOSITION lN A CIVIL ACTION

To: Dr. Wi||iam Ful|er, Avera Medica| Group Behaviora| Health Center
4400 West 69th Street, Sioux Fa||s, SD 57108

(lValne of person lo whom this subpoena is direcle(/)

d Tesrimony.' YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. Ifyou are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalfabout the following matters, or
those set forth in an attachment:

 

place: Avera Medica| Group Behavlora| Health Center Date and Time;

4400 West 69th Street
Sioux Fallsl SD 57108 September 24, 2018 at 4 p.m.

 

 

 

The deposition will be recorded by this method: Cou"t Rep°lte"

 

d Produclion.' You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material; Any and all documents in your custody or control relating to the condition, examinationl carel testing,

treatment and/or evaluation of SALA NAAMBWE, DOB 01/01/1972, SSN# xxx-x)<-8114

 

The following provisions of Fed. R. Civ. P. 45 are attached ~ Rule 45(0), relating to the place ofcompliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 4S(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

/// ,`
Date: /))[/Q [&’_

 

 

CLERK OF COURT 1
./" t
OR f / j ,.
»__ _ \_ ‘ '/ ./;51,"
Signam)'e of CIe)‘/c or Deputy Cle/'k \ _ d ’ Alto)'ney 's signature

 

'l`he name, address, e-mail address, and telephone number of the attorney representing (name ofparr,v) Smlthfie'd Foods

, who issues or requests this subpoena, are:
Lisa l\/larso, Esq., 300 S. |Vlain St, Sioux Falls, SD 57107; |marso@boyce|aw.com; 605-336-2424

 

 

 

Notice to the person who issues or requests this subpoena
It` this subpoena commands thc production ofdocuments, electronically stored information, or tangible things before
trial, a notice and a copy ofthe subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).

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AO 88A (Rcv. 02/|4) Subpocnu to Tcstil`y utu Deposition in a Civil Action (Pngc 2)

Civil Action No. 4317CVO4123

PROOF OF SERVICE
( T his section should not be filed wit/1 the court unless required by Fe(l. R. Civ. l’. 45.)

l received this SlepO€na fOl' ()mme ofimlivic/ual ancllil/e. ifc/In')
On (datc)

 

tJ l served the subpoena by delivering a copy to the named individual as follows:

 

On (date) ; Ol°

 

\'_'l I returned the subpoena unexecuted because:

 

Unless the subpoena was issued on behalf ofthe United States, or one ofits officers or agents, l have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total oi`$ 0_00

 

l declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

l’rinted name and title

 

.S'er\'et‘ 'A' address

Additional information regarding attempted scrvice, ctc.:

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AO 88A (Rcv. 02/14) Sul)poena to Testil`y ata Deposition iii n Civil Action (l’ngc 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) l’lace ofConipliaiicc.

(i) For a Trlnl, Hearlug, or De/)osllion. A subpoena may command a
person to attend a trial, |ieariiig, or deposition only as follows:
(/\) within 100 miles of where thc person rcsides, is cniployed, or
regularly transacts business in person'. or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a pnrty’s officer; or
(ii) is commanded to attend ii trial and would not iiictir substantial
cxpcnsc.

(2) For Ol/ier Dlscovery. A subpoena may coininaiid:

(A) production ofdocuments, electronically stored information, or
tangible things at a place within 100 miles of where the person rcsidcs, is
cinp|oyed, or regularly transacts business in person; and

(B) inspection of premises at thc premises to be inspected

(d) Protcctiiig a Pcrsoii Subjcct to a Subpociiii; Enl'orcemciit.

(l) Avolrliiig Umlue Burrlen or E.\'peuse; Stuictions. A party or attorney
responsible for issuing and serving a subpoena iiitist take reasonable steps
to avoid imposing iiiidtie btirdeii or expense on n person subject to the
subpoena 'l`he court for the district where compliance is required intist
enforce this dirty and impose an appropriate sanction-which may include
lost earnings and reasonable attoniey`s fees-on a party or attorney who
fails to comply.

(2) Cr)mnuuul to I’rt)rlur:u Mtlterluls or l’ermlt lns/)ucllan.

(A) Appearance No/ Required. A person commanded to produce
documents, electronically stored infonnation, or tangible tliiiigs, or to
permit t|ic inspection of premises, need not appear iii person at the place ol`
production or inspection unless also commanded to appear l`or ii depositioii,
hearing, or trial.

(ll) Objeelr'aiis. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
iii the subpoena a written objection to iiispccting, copying, testing, or
sampling any or all ol`tlic materials or to inspecting the premises-or to
producing electronically stored information in the fortn or fonns requested
'l`lie objection must be served before the earlier of the time specified for
compliance or 14 days alter the subpoena is served. lf an objection is madc,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection

(ii) "l`liese acts may bc required only as directed iii the order, and the
order intist protect ii person who is neither n party nor n party‘s officer from
significant expense resulting from coiiipliaiice.

(3) Quasltlug or Morli/_`ying a Sul)[)aena.

(A) li’lien Reqnirez/. Oii timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(l) fails to allow a reasonable tiiiic to comp\y;

(ii) requires a person to comply beyond thc geographical limits
specified in Rule 45(c);

(lii) requires disclosure of privileged or other protected mattcr, it`no
exception or waiver applies; or

(iv) subjects a person to tiiidiic biirdeii.

(B) Wlien Perniitted. 'fo protect a person subject to or affected by n

subpoetia, the court for tlie district where compliance is required may, on
iiiotion, quash or modify t|ie subpoena ifit requires:

(l) disclosing a trade secret or other confidential researeli, developmeiit,
or commercial information; or

(ii) disclosing an uiiretaiiied expert's opinion or infomiatioii that does
not describe specific occurrences in dispute and results from the expert's
study that was riot requested by a party.

(C) S/)ecifving Conditians as an /lllernalii'e. |ii the circumstances
described iii Rule 45(d)(3)(B), the court may. instead ofquasliiiig or
modifying a subpoenu, order appearance or production under specified
conditions iftlic serving pai'ty.

(i) shows a substantial iicetl for the testimony or material that cannot bc
otherwise met without tiiidtie liardslii'p; riiid
(ii) ensures that the subpoenaed person will be reasonably compensated

(c) Dntlcs iii Rcspr)iidliig to ii Siibpoeiin.

(l) I’rotluclng Doeunieiit.r or Eluctro)i/cully Storerl lnformntt'o/i. 'l`hesc
procedures apply to producing documents or electronically stored
iiifomiation:

(A) Docimients. A person responding to a subpoena to produce documents
iiitist produce them as they are kept in the ordinary cotirsc of birsiiiess or
intist organize and label them to correspond to the categories in the demand

(B) F`ormfoi' Produciiig E/eetronicaI/y Stored liy'r))'mation Nat Spect]ied.
|f a subpoena does not specify a form for producing electronically stored
infonnation, thc person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forins.

(C) l:`leelronicalljl Stored l)ifarmalion l’roditcea' in Only One Far/n. 'l`lic
person responding need not produce the same electronically stored
information iii more than one form.

(D) inaccessible L"/ecI/'oiiic'a/lv Stared lig/ornialion. The person
responding need riot provide discovery ofelectronically stored information
|`rom sources that the person identifies as not reasonany accessible because
ofuiidtic burden or cost. Oii motion to compel discovery or for n protective
ordcr, the person responding must show that the inl`orriiatioii is not
reasonably accessible because of undue btirdcii or cost. lfthiit showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering tlic limitations of Rule
26(b)(2)(C). Tlie court may specify conditions for t|ie discovciy.

(2) Clalml/ig Privilege ar Protectlon.

(1\) l)ifar)iiation l'Vit/ilield. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material inust:

(i) expressly make the claim; and

(ii) describe tlie nature of the withheld docunieiits, commuiiications, or
tangible things iii a manner tliat, without revealing information itself
privileged or protected, will enable the parties to assess the claini.

(B) lnforiiiation Produced. lf information produced in response to a
subpoena is subject to a claim ofprivilege or ofprotcction as
trial-preparation materiall the person making the claim may notify any party
that received the information oftlic claim and the basis for it. Atter being
notified, tr party must promptly return, seqticster, or destroy the specified
information and any copies it lias; must not use or disclose the inforiiiinioii
until t|ie claim is resolved; iiitist take reasonable steps to retrieve the
information iftlic part_\l disclosed it before being iiolifrcd'. and may promptly
present the information tmtlcr seal to the court for thc district where
compliance is required fora determination ol`tlie cliiiiii. 'l`|ic person who
produced the information intist preserve the information until the claim is
resolved

(g) Coiiteiiipt.

'l`lie court for tlie district where compliance is required-and also, after ri
motion is transferred, the issuing eourt_may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Conimittec Note (20 | 3).

 

 

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UNITED STATES DISTRICT COURT

 

DISTRICT OF SOUTH DAKOTA
SOUTHER.N DIVISION
SALA NAAMBWE and YVETTE Civ. 17-4123
NIMENYA,
Plaintiffs.
ADN[ISSION OF SERVICE

vs.
SM]THFIELD FOODS, INC.

Defendant.

 

I, Dr. Williarn Fuller, hereby admit personal service of true and correct copies of the
Subpoena to Testify at a Deposition in a Civil Action and Defendant’s Notice of Deposition of Dr.
william Fuiier in the aboveemiiied action on this ali day of 51 201 s.

C/ )r/L caa-f

Dr. W'iiiiam Fuiiér

